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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

  JOHN LUTZ,

                Plaintiff,

  v.                                   Case No. 8:17-cv-2821-T-33MAP

  STATE FARM MUTUAL AUTOMOBILE
  INSURANCE COMPANY,

                Defendant.
                                      /

                                    ORDER
         This    cause   comes   before      the   Court        pursuant   to

  Plaintiff John Lutz’s Motion to Remand (Doc. # 5), which was

  filed on November 29, 2017.        The Court grants the Motion and

  remands this action to s t a t e c o u r t pursuant to 28 U.S.C.

  §    1447(c)     because   this    Court     lacks     subject      matter

  jurisdiction.

         I.     Background

         On January 20, 2017, Lutz was involved in a car crash

  with   an     “uninsured/underinsured      motorist”     in    Clearwater,

  Florida. (Doc. # 2 at ¶ 4).         Lutz was insured by Defendant

  State Farm at the time of the accident under Policy number

  E17670559. (Id. at ¶ 9).       On October 13, 2017,           Lutz filed a

  Complaint against State Farm in state court “for damages

  that exceed fifteen thousand $15,000 dollars.” (Id. at ¶ 1).
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    Lutz describes his injuries in the Complaint as “serious

  and permanent injuries or his head, neck, body, back and

  legs and aggravat[ion] of a pre-existing condition.” (Id. at

  ¶ 6).    The Complaint also indicates that Lutz has incurred

  medical expenses and has sustained a loss of earnings. (Id.

  at ¶ 8).

          State Farm removed the case on November 22, 2017, on

   the basis of complete diversity of citizenship. (Doc. # 1).

   In the Notice of Removal, State Farm indicates that it is

   an Illinois insurance company organized under the laws of

   the State of Illinois, and is thus a citizen of Illinois.

   (Id. at ¶ 14).       The Notice of Removal also states that Lutz

   “is a citizen of the State of Florida.” (Id. at ¶ 15).

          As to the amount in controversy, State Farm alleges in

   a conclusory manner that “this is a civil action in which

   the    amount   in   controversy      exceeds    the    sum   of   $75,000

   exclusive of interest and costs.” (Id. at ¶ 16). State Farm

   highlights that the relevant insurance policy’s limits are

   $100,000, that Lutz “sustained a comminuted fracture of the

   right   calcaneus,”     that   a   $50,000      medical    procedure    is

   contemplated,    and    that   Lutz    has   incurred     $34,854.30    in

   medical bills. (Id. at ¶¶ 3, 10, 12).                  At this juncture,




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   Lutz has filed a Motion to Remand arguing that this Court

   should reject State Farm’s assertions regarding the amount

   in controversy.

         II.   Analysis

        When   jurisdiction          is       premised       upon     diversity      of

  citizenship,    28     U.S.C.      §       1332(a)   requires,          among   other

  things, that “the matter in controversy exceeds the sum or

  value of $75,000, exclusive of interest and costs.” “If the

  jurisdictional      amount    is       not      facially    apparent       from   the

  complaint, the court should look to the notice of removal and

  may require evidence relevant to the amount in controversy at

  the time the case was removed.” Williams v. Best Buy Co., 269

  F.3d 1316, 1319 (11th Cir. 2001). Further, if “damages are

  unspecified,     the       removing         party    bears        the    burden    of

  establishing the jurisdictional amount by a preponderance of

  the evidence.” Lowery v. Ala. Power Co., 483 F.3d 1184, 1208

  (11th Cir. 2007).

        Lutz   does    not    make       a    specified      claim    for    damages.

  (Doc. # 2 at ¶ 1) (generally alleging damages exceeding

  $15,000). In the Motion to Remand, Lutz suggests that the

  only evidence of the amount in controversy is two competing

  letters of counsel.          Lutz’s demand letter is discussed in

  the Notice of Removal; however, it is not before the Court.


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  The Court gathers that Lutz demands an amount greater than

  the jurisdictional minimum, but the medical bills described

  in the demand letter amount to $34,854.30, which is far

  less than the amount required for removal.                  And, Lutz has

  filed State Farm’s September 20, 2017, letter authored in

  response to the presuit demand letter in which State Farm

  offered to settle the case for $11,753.51. (Doc. # 5-1).

         The letters of counsel do not convince the Court that

  the jurisdictional amount is satisfied. See Standridge v.

  Wal-Mart    Stores,     945    F.        Supp.   252,    256     (N.D.   Ga.

  1996)(holding that a pre-suit demand letter was “nothing

  more than posturing by plaintiff’s counsel for settlement

  purposes and cannot be considered a reliable indicator of

  the damages plaintiff is seeking”).

         The Court agrees with Lutz that State Farm has not met

  its burden as to the amount in controversy requirement for

  the removal of this case. The Court is aware that “district

  courts   are   permitted      to   make     reasonable    deductions     and

  reasonable inferences and need not suspend reality or shelve

  common sense in determining whether the face of a complaint

  establishes    the    jurisdictional        amount.”     Keogh   v.   Clarke

  Envtl. Mosquito Mgmt., Inc., No. 8:12-cv-2874-T-30EAJ, 2013

  U.S.   Dist.   LEXIS    20282,      at    *4-5   (M.D.    Fla.    Jan.   17,


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  2013)(internal citations omitted). But, overall, the record

  is devoid of evidence to suggest that Lutz’s damages from

  this   incident     exceed   the   $75,000    amount   in    controversy

  threshold.

         The Court recognizes that Lutz has alleged “serious and

  permanent injuries,” and “significant and permanent loss of

  bodily function, or permanent injury within a reasonable

  degree    of   medical    probability     other   than      scarring    or

  disfigurement,      or   significant    and   permanent      scarring   or

  disfigurement.” (Doc. # 1 at ¶¶ 6-7).             However, the Court

  has not been provided with sufficiently specific information

  about these broad categories of damages to find that the

  amount in controversy has been met. And, Lutz has described

  these categories of damages in such a vague and inexact

  manner that the Court would be required to engage in rank

  speculation    to    ascribe   these    damages   with      any   monetary

  value.

         For instance, Lutz seeks redress for lost wages, but

  does not provide any earnings records or state the nature of

  his employment.      See Robinson v. Peck, No. 1:14-cv-1628-WSD,

  2014 U.S. Dist. LEXIS 159198, at *11-12 (N.D. Ga. Nov. 12,

  2014)(granting motion to remand in slip and fall action

  where plaintiff “allege[d] a generic scattershot list of


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  unspecified damages,” which included personal injury, pain

  and suffering, mental anguish, loss of the capacity for the

  enjoyment      of   life,   impaired   ability   to   labor,   loss    of

  earning capacity, incidental expenses, expenses for medical

  treatment, future medical expenses and permanent injury.).

         In a case such as this, where “plaintiff makes an

  unspecified demand for damages in state court, a removing

  defendant must prove by a preponderance of the evidence that

  the amount in controversy more likely than not exceeds the

  . . . jurisdictional requirement.” Roe v. Michelin N. Am.

  Inc., 613 F.3d 1058, 1061 (11th Cir. 2010).              As explained

  above, State Farm falls short of meeting this burden.                 The

  Court, finding that it lacks subject matter jurisdiction,

  remands this case to state court.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

  (1)    Plaintiff John Lutz’s Motion to Remand (Doc. # 5) is

         GRANTED.

   (2)   The Clerk is directed to REMAND this case to state

         court pursuant to 28 U.S.C. § 1447(c) because this

         Court lacks subject matter jurisdiction.

   (3)   After remand has been effected, the Clerk shall CLOSE THE

         CASE.


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              DONE and ORDERED in Chambers in Tampa, Florida,

        this 1st day of December, 2017.




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